                                                                                             Ex. 1
                                            AFFIDAVIT
       The undesigned Kira Ferguson, being duly sworn, who lives within the Commonwealth of

Virginia, and is over the age of 18 years old, deposes and states as follows:

        I.     I am the natural and biological daughter of the late William S. Ferguson, Deceased.

       2.      Susan Bielski Blackwell is the stepdaughter of my dad and lives in New Hampshire.

       3.      Susan came to Virginia four days before my dad was to go to Pennsylvania for

               medical care.

       4.      Susan assumed the role of caretaker of my father for the four days before his

               suicide.

       5.      Susan cooked the meals, oversaw his sleeping arrangements, drove him around

               oversaw his behavior and tended to his needs generally for those four days.

       6.      She was the person responsible for my father during those four days. No one else

               was in the house but them.

       7.      She was aware that he was compromised physically and mentally during this time.

       8.      He was going to be 75 in 2 days.

       9.      I spoke with my dad, and he said that Susan insisted on coming to Virginia, to

               spread her mother's ashes.

        10.    Susan and my dad planned to leave for Pennsylvania early Friday Morning, October

               15, 2021.

       11.     Unfortunately, and to our detriment, that is not what happened.



       12.     My father                        was pronounced dead on the scene, approximately

               9:36 am on October 14, 2021.
13.   My sister Shannon Ferguson and I did not learn of his death until 11 :22 am from a

      neighbor. Upon learning this information, we drove to Wytheville, Virginia

14.   I arrived in Virgina between 7:00 pm- 7:30 pm. Susan was in the driveway waiting

      for me.

15.   The first thing she did was hand me my father's Last Will and Testament and told

      me we had an appointment with the attorney at 1:00 pm for a reading of the Will.

16.   Susan proceeded to tell me what happened. Susan recounted that my dad was

      sitting on the back deck and mentioned suicide. Susan then told me and others

      that were there RK, Christy, April Grubb that she told my dad "not to do it

      on tbe back deck because the medics would not be~ble to get through the house

      to back to get the back deck to get to you." She then told him "not to shoot

      himself in the head, because we not be able to have a viewing or open casket

      funeral."

17.   My father then went and sat on the couch in the living room, and then Susan told

      him "not to do it in the house, because it would be too messy."

18.   Susan relayed to me that she told him to "go outside and shoot yourself in the

      chest, not the head."

19.   Together, Susan and my dad, sat in the chairs outside, and she said my dad pulled

      the gun pointed and asked her "head or chest" and she said "chest" and my dad

      pulled the trigger.

20.   Susan also said, "go be with mum, you're going to die on the table."
      I decla,e that the information contained herein is trUC and correet to the best of rny



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knowledge, information and belief.

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       Commonwealth of Penniylvanla • Notary Seal
                Elizabeth C. Malloy, Notary Public
                    Delaware County
          My Commission Expires January 30, 2028
      I              Conm,tsston Number 1364610



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